 Case 4:24-cr-00051-RSB-CLR       Document 47     Filed 02/13/25   Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF GEORGIA
                         SAVANNAH DIVISION


 UNITED STATES OF AMERICA,

       v.                                           CASE NO.: 4:24-cr-51

 HENRY LONDON TAYLOR,

              Defendant.


                                     ORDER

      The change of plea or Rule 11 hearing having been conducted by the Court with

the interrogation by the Court of the defendant and the defendant's attorney at a

hearing on the defendant's motion to change the plea and the Court finding that the

plea of guilty is made freely, voluntarily and knowingly, it is thereupon,

      ORDERED that the plea of guilty by defendant be, and it is, hereby accepted,

and it is, hereby ratified and confirmed.

      This 13th day of February, 2025.




                                 R. STAN BAKER
                                 UNITED STATES DISTRICT JUDGE
                                 SOUTHERN DISTRICT OF GEORGIA
